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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION
                            ___________

CLAUDIA L. HART,
CAROL S. STEINHAUS,                              Case No. 2:19-cv-00041
KARIN M. STULZ, and                              Hon. Paul L. Maloney
MARGARET E. VROMAN,                              Magistrate Phillip J. Green

            Plaintiffs,

vs.

NORTHERN MICHIGAN
UNIVERSITY, a public entity,

            Defendant.
                                    /
 Raymond J. Sterling (P34456)           Megan P. Norris (P39318)
 Brian J. Farrar (P79404)               Kurt P. McCamman (P51477)
 Attorneys for Plaintiffs               Kamil Robakiewicz (P80866)
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                                    /

      STIPULATED ORDER ALLOWING PLAINTIFFS TO FILE
        AMENDED COMPLAINT ADDING TITLE VII CLAIM

      Pursuant to the stipulation of the parties, plaintiffs may file an Amended

Complaint adding a cause of action under Title VII of the Civil Rights Act of
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1964. Plaintiffs shall file their Amended Complaint within 7 days of entry of this

order.

              IT IS SO ORDERED.
Dated: November 22, 2019         /s/ Phillip J. Green
                                 PHILLIP J. GREEN
                                 United States Magistrate Judge
We stipulate to entry of the
foregoing order:


By:      /s/Brian J. Farrar       By:/s/Kamil Robakiewicz w/permission
      Brian J. Farrar (P79404)          Kamil Robakiewicz (P80866)
      Attorney for Plaintiffs           Attorney for Defendant




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